Case:19-01896-ESL12 Doc#:75 Filed:07/29/19 Entered:07/29/19 17:56:37                       Desc: Main
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                                UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF PUERTO RICO

  In re:                                                       Chapter 12

  JUAN JOSE PERAZA MORA and GLORIA                             Case No. 19-01896(ESL)
  BATISTA MOLINA

                               Debtors.


                                          CERTIFICATE OF SERVICE

 TO THE HONORABLE UNITED STATES
 BANKRUPTCY COURT:

         I HEREBY CERTIFY, that on July 26, 2019, I electronically filed a true and exact copy
 of the Motion for Lift of Stay, (the “Stay Motion”) filed at Docket No 72, with the Clerk of the
 Court using the CM/ECF system which will send notification of such filing to the parties appearing
 in said system, including the Office of the United States Trustee.

        I FURTHER CERTIFY, that on July 29, 2019, a true and exact copy of the Stay Motion,
 along with the corresponding exhibits, was served by regular mail upon all parties listed in the
 Mailing Matrix of the instant bankruptcy proceeding, as well as by certified first-class mail,
 including the Stay Motion and the Summons, return receipt requested, to Debtors’ counsel, Mrs.
 Lyssette Morales Vidal, to the address on record: L.A. Morales & Associates, P.S.C., Urb. Villa
 Blanca, 76 Aquamarina, Caguas, Puerto Rico, 00725-1908.

               RESPECTFULLY SUBMITTED.

               In San Juan, Puerto Rico, this 29th day of July 2019.

        I FURTHER CERTIFY that on this same date, I electronically filed the foregoing with
 the Clerk of the Court using the CM/ECF system, which will send notification of such filing to all
 CM/ECF participants in this case.
                                                     O’NEILL & BORGES LLC
                                                     Attorneys for Triangle Cayman Asset Company
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                                                     San Juan, PR 00918-1813
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                                                     S/ Martha L. Acevedo-Peñuela
                                                     Martha L. Acevedo-Peñuela
                                                     USDC No. 300501
                                                     martha.acevedo@oneillborges.com



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